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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                 HARRISONBURG DIVISION

UNITED STATES OF AMERICA                          )
                                                  )     Criminal Action No. 5:21-cr-00023
   v.                                             )
                                                  )     By: Elizabeth K. Dillon
RICHARD E. MOORE                                  )         United States District Judge

                                               ORDER

        The defendant, Richard E. Moore, by counsel, moves for a continuance of the trial

scheduled in this case, and the United States does not object to the motion. The court finds good

cause to grant the motion. Specifically, a continuance will allow additional time to review

voluminous discovery and prepare for trial. A failure to grant the continuance would therefore

deny counsel reasonable time to prepare effectively for trial, taking into account the exercise of

due diligence.

        The court further finds that the ends of justice served by the granting of the continuance

outweigh the best interest of the public and defendant in a speedy trial, pursuant to 18 U.S.C.

§ 3161(h)(7)(A) of the Speedy Trial Act.

        Accordingly, it is hereby ORDERED that defendant’s motion for a continuance is

GRANTED and that this matter, now scheduled for February 18, 2022, is continued to

November 7–11, 14–18, 2022. The time period between February 18, 2022, and November 7,

2022, will be excluded from the calculation of time under the Speedy Trial Act.

        The clerk is directed to send a copy of this order to all counsel of record.

                 Entered: February 14, 2022.

                                                       /s/ Elizabeth K. Dillon
                                                       Elizabeth K. Dillon
                                                       United States District Judge
